Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Pagel of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:
DISTRICT OF COLORADO

 

Case number (if known): Chapter you are filing under:

Chapter 7
Chapter 11
Chapter 12

Chapter 13 LL Check if this is an

amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Identify Yourself

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your Ann
government-issued picture Fist Name cit Name
identification (for example,
your driver's license or Frances
passport). Middle Name Middle Name
Pegg
Bring your picture Last Name Last Name
identification to your meeting
with the trustee. Suffix (Sr., Jr, Il, i) Suffix (Sr. Jr I Mi)
2. All other names you Ann
have used in the last 8 First Name First Name
years F.
. Middie Name Middle Name
Include your married or
maiden names. Pegg
Last Name Last Name
Ann
First Name First Name
Middle Name Middle Name
Pegg
Last Name Last Name
3. Only the last 4 digits of
your Social Security XXX — XX —_9 8 3  _ 2 XXX — XK
number or federal OR OR
Individual Taxpayer
Identification number 9xx — XX - 9xx — Xx -—
(ITIN) re OO

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page2 of 10

Debtor 1

Ann Frances Pegg

Case number (if known)

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

About Debtor 1:

(C1 | have not used any business names or EINs.

The Fringe

 

About Debtor 2 (Spouse Only in a Joint Case):

[] | have not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

 

Business name

EIN

EIN

1670 Yarrow Street

Business name

If Debtor 2 lives at a different address:

 

Number — Street

Number Street

 

 

 

 

Lakewood co 80214

City State ZIP Code City State ZIP Code
Jefferson

County County

lf your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

If Debtor 2's mailing address is different
from yours, fill it in here. Note that the court
will send any notices to you at this mailing
address.

 

Number Street

Number = Street

 

 

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

fy] Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Tell the Court About Your Bankruptcy Case

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

Official Form 101

[J Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

wi Chapter 7

OO Chapter 14
CO Chapter 12
CO Chapter 13

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page3 of 10

Debtor 1 Ann Frances Pegg

Case number (if known)

 

 

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Iv]! will pay the entire fee when | file my petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
behalf, your attorney may pay with a credit card or check with a pre-printed address.

[]_ | need to pay the fee in installments. If you choose this option, sign and attach the Application for
Individuals to Pay The Filing Fee in Installments (Official Form 103A).

L] |! request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

ow No

LJ Yes.

District When Case number
MM /DD/YYYY

District When Case number
MM / DD /YYYY

District When Case number
MM / DD /YYYY

4 No

E] Yes.

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

MI No. Goto line 12.

[] Yes. Has your landlord obtained an eviction judgment against you?

Ol No. Go to line 12.

C1 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
and file it as part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy

page 3
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page4 of 10

Debtor 4 Ann Frances Pegg Case number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor L] No. Go to Part 4.
of any full- or part-time lv] Yes. Name and location of business
business?
The Fringe

 

A sole proprietorship is a

: Name of business, if any
business you operate as an

 

 

 

individual, and is nota 1670 Yarrow Street
separate legal entity such as Number — Street
a corporation, partnership, or
LLc.
Lakewood co 80214
If you have more than one City State ZIP Code
sole proprietorship, use a
separate sheet and attach it Check the appropriate box to describe your business:

to this petition.

(T] Heaith Care Business (as defined in 11 U.S.C. § 101(27A))

[]_ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

(]_ Stockbroker (as defined in 11 U.S.C. § 101(53A))

[.] Commodity Broker (as defined in 11 U.S.C. § 101(6))

[7] None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it

Chapter 11 of the can Set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
are yous small business or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. | am not filing under Chapter 11.

a age (C1 No. lam filing under Chapter 11, but 1 am NOT a small business debtor according to the definition in
For a definition of small the Bankruptcy Code
business debtor, see piey ,
11 U.S.C. § 101(51D). L] Yes. !am filing under Chapter 11 and | ama small business debtor according to the definition in the

Bankruptcy Code.
Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any M No
property that poses or is [1 Yes. What is the hazard?
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs if immediate attention is needed, why is it needed?

immediate attention?

For example, do you own
perishable goods, or

 

 

 

livestock that must be fed, or Where is the property?
a building that needs urgent Number Street
repairs?
City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Paged of 10

Debtor1 Ann Frances Pegg Case number (if known)

 

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

whether you
have received a
briefing about
credit
counseling.

The law requires
that you receive a
briefing about credit
counseling before
you file for
bankruptcy. You
must truthfully
check one of the
following choices.

If you cannot do so,
you are not eligible
to file.

If you file anyway,
the court can
dismiss your case,
you will jose
whatever filing fee
you paid, and your
creditors can begin
collection activities
again.

Official Form 101

You must check one:

[VJ | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[J! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[[]! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

[]! am not required to receive a briefing about
credit counseling because of:

[] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CO Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

[J Active duty. [| am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

15. Tell the court About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

[(]! received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[(]| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[_]| certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case

may be dismissed.

Any extension of the 30-day deadiine is granted only
for cause and is limited to a maximum of 15 days.

[]| am not required to receive a briefing about
credit counseling because of:

CU Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

[] Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Pageé of 10

Debtor 1

Ann Frances Pegg

Case number (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do you
have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities to
be?

Official Form 101

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

| No. Go to line 16b.
[vy] Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

oO No. Go to line 16c.
Ol Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer or business debts.

 

OQ No.
VM Yes.

| am not filing under Chapter 7. Go to line 18.

| am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

administrative expenses are paid that funds will be available to distribute to unsecured creditors?

M No
CO Yes

o/ -49
50-99

[] 100-199
[] 200-999

C1 $0-$50,000
[1] $50,001-$100,000

$100,001-$500,000
[] $500,001-$1 million

[1] $0-$50,000

[1] $50,001-$100,000
[A $100,001-$500,000
[1] $500,001-$1 million

OOOO OOOO OOO

1,000-5,000
§,001-10,000
10,001-25,000

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

Voluntary Petition for Individuals Filing for Bankruptcy

OOOO OOOO O8O0

25,001-50,000
50,001-100,000
More than 100,000

$500,000,001-$1 billion

$1 ,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

page 6
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page7 of 10

 

 

 

Debtor 1 Ann Frances Pegg Case number (if known)
wee Sign Below
For you | have examined this petition, and | declare under penalty of perjury that the information provided is true

and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11, 12,
or 13 of title 11, United States Code. | understand the relief available under each chapter, and | choose to
proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me
fill out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
| understand making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

X /s/ Ann Frances Pegg ned yy X

 

Ann Frances Pegg, Debtor 1 Signature of Debtor 2
Executed on 03/22/2019 Executed on
MM/DD/YYYY MM /DD/YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Pages of 10

 

 

 

Debtor 4 Ann Frances Pegg Case number (if known)
For your attorney, if you are 1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about
represented by one eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the

relief available under each chapter for which the person is eligible. | also certify that | have delivered to
If you are not represented by the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need certify that | have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page. is incorrect.

awdD if —
X /s/ James L. Aab, Esq. fa AA jy) a Date 03/22/2019
Signature of Attorney for Debt r MM/DD/YYYY

James L. Aab, wha
Printed name ”

James L. Aab, Esq.

 

 

 

 

 

 

 

Firm Name

5950 S. Willow Drive, Suite 304

Number Street

Greenwood Village co 80111
City State ZIP Code
Contact phone (303) 756-7550 Email address JLAAB@aol.com
5177 co

Bar number State

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page9 of 10

 

 

Certificate Number: 17572-CO-CC-032300393

UUTINC IUD ACT A

17572-CO-CC-032300393

CERTIFICATE OF COUNSELING

I CERTIFY that on February 15, 2019, at 1:04 o'clock PM PST, Ann F Pegg
received from Dollar Learning Foundation, Inc., an agency approved pursuant to
11 U.S.C. § 111 to provide credit counseling in the District of Colorado, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. 8§
109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: February 15, 2019 By: /s/Linda Duarte

Name: Linda Duarte

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 
Case:19-12179-JGR Doc#:1 Filed:03/24/19 Entered:03/24/19 16:44:55 Page10 of 10

UNITED STATES BANKRUPTCY COURT
DISTRICT OF COLORADO
DENVER DIVISION

INRE: Ann Frances Pegg CASE NO

CHAPTER 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.

Date 3/22/2019 Signature _/s/ Ann Frances Pegg (Mw fru ee4| OP
TX

Ann Frances Pegg

Date Signature

 
